          Case 3:15-cr-00072-MEM Document 109 Filed 10/16/20 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                :

                                         :        CRIMINAL NO. 3:15-72
    v.
                                         :          (JUDGE MANNION)
 MICHAEL COSTELLO,
                                         :
                 Defendant
                                         :

                                    ORDER

         Based on the court’s memorandum issued this same day, IT IS

HEREBY ORDERED THAT:

    Defendant Michael Costello’s second Motion for Compassionate Release

    and for Immediate Release to Home Confinement, under §3582(c)(1)(A),

    (Doc. 96), is DENIED ON ITS MERITS.



                                             s/ Malachy   E. Mannion
                                             MALACHY E. MANNION
                                             United States District Judge

DATE: October 16, 2020
15-72-02-Order
